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12
                        UNITED STATES DISTRICT COURT
13                 FOR THE CENTRAL DISTRICT OF CALIFORNIA

14                                         ) Case No.: 2-18-CV-05741
     LUCAS R., et al.,                     )
15   Plaintiffs,                           ) [PROPOSED] ORDER GRANTING
                                           ) MOTION     TO DISMISS, DENYING
                                             MOTION FOR CLASS
16          vs.                            ) CERTIFICATION WITH PREJUDICE,
                                           ) AND DISMISSING COMPLAINT
17   ALEX AZAR, Secretary of U.S. Dep’t of )
     Health and Human Services, et al.,    ) Hearing on Motion to Dismiss and Class
18   Defendants                            ) Certification:
                                           ) September 14, 2018
19                                         )
                                             Honorable Judge Dolly Gee
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                                     PROPOSED ORDER - 1
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 1         For the reasons explained in Defendants’ Motion to Dismiss and Opposition
 2   to Class Certification, and for good cause shown, it is hereby
           ORDERED that Defendants’ Motion to Dismiss is GRANTED.
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 4         It is further ORDERED that Plaintiffs’ Motion for Class Certification is
     DENIED WITH PREJUDICE as duplicative.
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 6         It is further ORDERED that this case is DISMISSED.
           SO ORDERED this ______ day of September 2018.
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 8                                          ________________________________
                                            HONORABLE DOLLY GEE
 9                                          UNITED STATES DISTRICT JUDGE

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                                      PROPOSED ORDER - 2
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 1                                           Presented by:
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                                 PROPOSED ORDER - 3
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 1                           CERTIFICATE OF SERVICE
           I certify that, on August 17, 2018, I caused the foregoing documents to be
 2
     filed via the CM/ECF system, which caused a copy to be served on Plaintiffs’
 3
     counsel of record.
 4

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                                     PROPOSED ORDER - 4
